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 1   DANIEL BRODERICK, Bar #89424
     Acting Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONNA LAVETTA WILSON
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-06-450 (LKK)
10                                                   )
                           Plaintiff,                )
11                                                   )   ORDER AFTER HEARING
            v.                                       )
12                                                   )
     DIALLO SIMS                                     )   JUDGE: Lawrence K. Karlton
13                                                   )
     DONNA LAVETTA WILSON,                           )
14                                                   )
                       Defendants.
15   _______________________________
16          This matter came on for status hearing on July 24, 2007, in the courtroom of the Honorable
17   Lawrence K. Karlton, Senior Judge. Special Assistant United States Attorney Dale Kitching appeared on
18   behalf of the United States of America. Attorney Hayes Gable, III, appeared for Diallo Sims, who was
19   present and in custody, and Assistant Federal Defender Lexi Negin appeared on behalf of Defendant
20   Donna Wilson, who was present and in custody.
21          Both defense counsel requested additional time for investigation, review of discovery and to
22   prepare a defense of the case. All parties agreed to a further status hearing date of August 21, 2007.
23          Accordingly, the parties agreed to exclude time from calculation under the Speedy Trial Act for
24   the reasons stated above, pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4, for preparation of
25   counsel, from July 24, 2007, up until and including August 21, 2007.
26          Good cause appearing therefor,
27          IT IS ORDERED that this matter is continued to August 21, 2007, at 9:30 a.m. for status hearing.
28   Order After Hearing
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 1          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
 2   (iv) and Local Code T4, the period from July 24, 2007, up to and including August 21, 2007, is excluded
 3   from the time computations required by the Speedy Trial Act due to ongoing preparation of counsel.
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 5   Dated: August 7, 2007
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     Order After Hearing                                2
